UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
x Case No.: 21-cv-1232

JANE DOE,
Plaintiff,

-against- DECLARATION OF JANE DOE

LONG ISLAND MOTORS, INC., and DAVID
DELVECCHIO, individually,

Defendants.

I, Jane Doe, do hereby state and declare under the penalties of perjury as follows:

I am the Plaintiff the above-referenced action.

- 2, On or around May 22, 2020, I began working for Defendant Long Island Motors, Inc.

(“LIM”) as a Sales Specialist.
Defendants paid me a weekly base pay of $200, plus commission and bonus. I earned
commission for the sale of every automobile, for which I regularly earned upwards of
$1,000 each, resulting in total compensation of $1,200 per week. This was my salary
throughout the entirety of my employment with Defendants.
4, During my interview and shortly after | began working for Defendants, I started to
experience discrimination and harassment on account of my sex and gender that continued
until my eventual termination.
This discrimination caused me to suffer substantial emotional distress. My work
environment made me anxious and fearful for my safety. This led to my constant distrust
of others.

6. The abuse I suffered at work also generated feelings of embarrassment and shame. | felt as

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though I could no longer maintain meaningful professional relationships because I would
constantly have to explain what happened to me. Moreover, this instance of sexual assault
triggered trauma from sexual assault that I also fell victim to as a child.

In or around mid-June 2020, I was sexually assaulted in the workplace by my former
supervisor, Defendant Delvecchio. Several days later, after running a personal errand for
him, I was summoned by Defendant Delvecchio, berated in front of my coworkers, and
terminated. As I was leaving the premises, I was told by Defendant Delvecchio that he
would “fuck [my] background up.”

Following my termination, my emotional state worsened. I was severely depressed and
extremely anxious all of the time. I withdrew within myself and ceased communicating
with people.

I lost all faith in my own abilities. While 1 was a very confident person before, I now had
no confidence whatsoever and regularly felt disappointed in myself.

Despite my angst and emotional turmoil, I had no choice but to continue to search for work
to support myself and my son. However, I did not have the mental or emotional stamina to
adequately care for myself.

Following my termination, I continued to look for work. Eventually, on or about June 29,
2020, I took a job working for Surplus Furniture earning $1100/week and no commission,
a downgrade in income from my job with Defendants. However, this job ended on August
9, 2020.

[ found employment again on August 15, 2020, working for Ashley Furniture. I worked
there from August 15, 2020, to September 15, 2020, earning $11.00 per hour, resulting in

a weekly wage of $440. Again, | found myself unemployed from September 16, 2020, to

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October 7, 2020.

13. It was not until] October 2020 that | found a job more on par with my prior position, working
at Toyota and earning a salary of $15/hour plus commission. Despite the similarity between
this employment and my employment with LIM, I only earned $7,500 in my first three
months there. It was not until early January 2021 that I started to earn a wage that was not
less than what I earned with LIM.

I declare under penalty of perjury that the foregoing is true and correct.

Dated: October 25, 2021 2.

JANE DOE

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